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                        MDL 1570 PLAINTIFFS’ EXECUTIVE COMMITTEES
                         In re: Terrorist Attacks on September 11, 2001 (S.D.N.Y.)

    Plaintiffs’ Executive Committee for Personal                Plaintiffs’ Executive Committee for
               Injury and Death Claims                                   Commercial Claims
 Ronald L. Motley (1944-2013)                             Stephen A. Cozen, Co-Chair
 Jodi Westbrook Flowers, Co-Chair                         Sean Carter, Co-Chair
 Donald A. Migliori, Co-Chair                             J. Scott Tarbutton, Liaison Counsel
 Robert T. Haefele, Liaison Counsel                       COZEN O’CONNOR
 MOTLEY RICE LLC
                                                 VIA ECF
June 13, 2024

 The Honorable George B. Daniels, U.S.D.J.              The Honorable Sarah Netburn, U.S.M.J.
 United States District Court for the S.D.N.Y.          United States District Court for the S.D.N.Y.
 Daniel P. Moynihan U.S. Courthouse                     Thurgood Marshall U.S. Courthouse
 500 Pearl Street                                       40 Foley Square, Room 430
 New York, NY 10007                                     New York, NY 10007

         Re:        In Re: Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN)

Dear Judge Daniels and Judge Netburn:

         The Plaintiffs’ Executive Committees (“PECs”) and counsel for the Ashton Plaintiffs
(collectively, “Plaintiffs”) write in response to Saudi Arabia’s June 12, 2024 letter, ECF No. 9895, and
respectfully request an adjournment of the July 10, 2024 date for oral argument, given the scope of
the relevant record that remains under seal.

         To proceed with oral argument on July 10, 2024, when the bulk of the relevant judicial
documents remain under seal, would present significant Constitutional right of access problems, as
well as impediments to basic fairness and due process. Judge Netburn’s Order of March 13, 2023
(ECF No. 8923), which Saudi Arabia conspicuously fails to mention, expressly raised these
Constitutional requirements and the parties’ obligations to comply with them. ECF No. 8923 at 3
(“[T]he parties are reminded that the public is presumptively entitled to documents submitted in
connection with dispositive motions;” and “the parties must make a compelling showing to justify
redactions with respect to the upcoming motions.”). Plaintiffs remain committed to addressing these
issues as efficiently as possible, together with the other parties, but it is not feasible to expect that all
will be resolved in sufficient time to proceed with argument on July 10, 2024. Several well-established
facts and binding principles confirm this conclusion, as set forth below.

        1.      Saudi Arabia’s proposal to proceed with oral argument on July 10 would contravene
the Second Circuit’s decision in Lugosch and Judge Netburn’s March 13, 2023 Order. Saudi Arabia
acknowledges that the vast majority of the judicial documents submitted in connection with its
renewed motion to dismiss remain under seal, and that there is no clear timeline for completing the
review of those materials, let alone resolving disputes over sealing claims. Saudi Arabia’s proposal
that the Court should proceed with oral argument on July 10 irrespective of the status of sealing issues
runs directly afoul of the Second Circuit’s holding and directives in Lugosch, and is clearly aimed at
preventing Plaintiffs from effectively presenting and arguing the evidence before the Court.
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         The Second Circuit’s decision in Lugosch directs that “documents submitted . . . for []
consideration in a summary judgment motion are — as a matter of law — judicial documents to which
a strong presumption of access attaches, under both the common law and the First Amendment.” 435
F.3d at 121. The Constitutional right of access to judicial documents is “immediate,” id. at 126, and
requires contemporaneous resolution of sealing requests, because “each passing day may present a
separate and cognizable infringement on the First Amendment.” Id. The “strong presumption of
access” can be overcome only by “the most compelling reasons,” established through “specific,
on-the-record findings that higher values necessitate a narrowly tailored sealing.” Id. at 120. These
Constitutional standards require that the present sealing issues (relating to documents that have been
before the Court for months already) be fully resolved well in advance of the oral argument, so as to
provide the public and media with a meaningful opportunity to participate.1 Not only would delayed
or after-the-fact access be wholly deficient to protect access rights, id. at 127 (citing a string of cases
underscoring the need for immediate and contemporaneous access), but a decision not to resolve the
sealing issue, “though a passive act, w[ould be] an active decision requiring justification under the First
Amendment.” Lugosch, 435 F.3d at 126.

         Saudi Arabia’s proposal contravenes Lugosch’s requirements in several fundamental ways.
On its face, Saudi Arabia’s demand to proceed with the status quo is impermissible under Lugosch, as it
necessarily contemplates that oral argument would be held before the sealing issues are resolved.
Judicial documents would remain under seal at the hearing simply because the FBI hadn’t reviewed
them yet, and/or because Saudi Arabia or the FBI had made unilateral and untested sealing
“designations” as to particular judicial documents. Neither of those purported justifications for
keeping records sealed at the time of argument would be supported by a showing of “compelling
reasons,” nor by the “specific on-the-record findings of higher values” mandated by Lugosch.2

        Saudi Arabia’s effort to distinguish Lugosch on the grounds that the media has not yet moved
to intervene in the 9/11 litigation only serves to underscore its disregard for the Constitutional
principles at issue. Judge Netburn has already directed that Lugsoch announces Constitutional rights
of access and sealing standards applicable to all cases, including this one; those rights are not limited
to cases in which a member of the public or a media organization hires counsel to intervene to demand
compliance with the Constitution. And while Lugosch’s requirements do not depend on media or
public participation in a case, there can be no debate that the present case — indeed, the very evidence

1 Lugosch at 121, quoting Joy v. North, 692 F.2d 880 (2d Cir.1982) (“The justification … is that [a dispositive motion] is “an

adjudication, and ‘[a]n adjudication is a formal act of government, the basis of which should, absent exceptional
circumstances, be subject to public scrutiny.’”); id. at 119, quoting United States v. Amodeo, 71 F.3d 1044, 1048 (2d Cir.1995)
(“Amodeo II”) (The presumption of access is based on the need for federal courts . . . to have a measure of accountability
and for the public to have confidence in the administration of justice. [] Without monitoring, … the public could have no
confidence in the conscientiousness, reasonableness, or honesty of judicial proceedings. Such monitoring is not possible
without access to testimony and documents that are used in the performance of Article III functions.). “To delay or
postpone disclosure undermines the benefit of public scrutiny and may have the same result as complete suppression.” Id
at 127, quoting Grove Fresh Distrib., Inc. v. Everfresh Juice Co., 24 F.3d 893, 897 (7th Cir.1994).
2 The suggestion that the parties should focus on having the FBI review some subset of documents that the parties plan

to use at argument does not solve this problem and is unworkable. Lugosch expressly rejected any approach that limits the
unsealing review to documents that are most relevant to the disposition of the motion. Further, such a process would
necessarily require Plaintiffs to disclose work product, and to make decisions immediately about the evidence they will use
at argument, before they have had an opportunity to confer and coordinate (as required) through the committee and
organization structure.
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that is the subject of the sealing orders — involves matters of intensive interest and importance to the
9/11 Families, the wider American public, media, and policymakers.3

        2.      Saudi Arabia seeks to proceed in conflict with Lugosch in order to obtain an unfair
advantage and undermine public participation in this uniquely important litigation. It is apparent that
Saudi Arabia is advocating an approach that would bring this Court into conflict with Lugosch’s
long-established common law and Constitutional requirements with the aim of placing Plaintiffs at an
unfair disadvantage at argument, and obstructing the very public participation that Lugosch guarantees.
Saudi Arabia’s renewed motion to dismiss is predicated entirely on the (false) claim that Plaintiffs
cannot offer evidence sufficient to meet JASTA’s jurisdictional requirements. Saudi Arabia plainly
seeks to deprive Plaintiffs of their rightful resort to significant aspects of the evidentiary record at
argument, despite the fact that those records do not qualify for sealing. Moreover, Saudi Arabia’s
proposal would prevent Plaintiffs from referencing many records at argument based solely on its own
unilateral and untested “designations” of those records, thus giving Saudi Arabia significant control
over what is fair game at argument – an improper litigation advantage. Any oral argument held while
so much of the record remains under seal would deprive the media, public, and policymakers of access
to key evidence inculpating Saudi government agents in the 9/11 attacks at the moment of most
intensive interest.

         Beyond the conduct of the oral argument itself, Plaintiffs must be afforded a fair opportunity
to prepare properly and organize the clearest possible presentation of the evidence. In contrast to
Saudi Arabia, Plaintiffs are not represented by a single law firm, but rather by several law firms working
together. Plaintiffs’ planning and preparation for argument thus requires coordination among lawyers
in multiple different locations. Coordination and collective decision-making among Plaintiffs’
counsel, essential to ensuring proper representation of the 9/11 Families and other clients, require
certainty and stability in the public record well in advance of argument.4 In addition, Plaintiffs need
time to implement any redactions the Court may ultimately require upon a proper record, a process
that is labor-intensive, time-consuming, and requires the attention and oversight of the attorneys
themselves.

         As Saudi Arabia acknowledges, most of the judicial records at issue have not been reviewed
by the FBI, and there is no settled process or timeline for completing the review. The FBI has advised
that it does not anticipate completing its reviews of the Averments until the end of June, shortly before
the July 4th holiday and just days before the present argument date. No plan or timeline has been
agreed for review of the actual evidentiary exhibits – the most important category of judicial
documents for oral argument. Saudi Arabia’s mere proposal that the parties should meet and confer
about that review and try to come up with a plan is unsatisfactory. Even if the parties were to reach
agreement on a procedure, it would take a minimum of several weeks to implement. There is no way


3 See, e.g., Benjamin D. and Simon, S., The Atlantic, “New 9/11 Evidence Points to Deep Saudi Complicity,” May 20, 2024,

available at: https://www.theatlantic.com/ideas/archive/2024/05/september-11-attacks-saudi-arabia-lawsuit/678430/
(last accessed June 13, 2024).
4 Only upon a certain and stable record can counsel make informed judgments as to what evidence from the vast number

of exhibits should be prioritized and featured, how it should be presented, and how to handle any evidence that may
properly remain under seal (although Plaintiffs maintain their skepticism as to whether much, if any, evidence would
ultimately qualify for sealing).
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it could be completed sufficiently in advance of July 10 to allow meaningful time to prepare upon a
stable record. Nor does Saudi Arabia’s approach permit any viable process or adequate time to
adjudicate the unilateral and unsupported sealing “designations,” as required by Lugosch. Without such
a process or the time to comply, the Court is deprived of the information it needs to make the
“specific, on-the-record findings . . . demonstrating that closure is essential to preserve higher values
and is narrowly tailored to serve that interest,” as required by Lugosch. 435 F.3d at 120. These and
other circumstances would deny Plaintiffs a fair opportunity to prepare for and present argument,
were it to proceed on July 10, 2024.

         3.      Saudi Arabia’s attempts at finger pointing grossly distort the facts and are irrelevant.
Saudi Arabia attempts to distract from the Constitutional right of access and due process issues by
falsely suggesting that Plaintiffs are somehow to blame for the current status of the unsealing review
process. These arguments are both factually wrong and irrelevant: the parties and the Court are
required to comply with Lugosch, and it is immaterial how or why the bulk of the record remains under
seal just weeks before the proposed argument date. The sole relevant consideration is how to achieve
compliance with Lugsoch as efficiently as possible.

        Certain of Saudi Arabia’s mischaracterizations of the process warrant correction. The DOJ
advised the parties that the FBI intended to focus first on the briefs, and then to turn to a sequential
review of each set of supporting submissions. It is undisputed that, when the Court issued its minute
order setting argument for July 10, 2024 the FBI had reviewed only the first three briefs on Saudi
Arabia’s motion, and had not yet begun its review of Plaintiffs’ surreply. It follows that, as of the date
of the minute order, the FBI had similarly not even begun its review of any of the parties’ averments
or underlying exhibits.

        The record also confirms that Plaintiffs have sought to facilitate and expedite the FBI’s review
wherever possible. The best example is the completion of meet-and-confer discussions with regard to
materials from the Metropolitan Police Service (MPS) productions of 2022 and 2023. Having received
Saudi Arabia’s confidentiality designations and agreed (provisionally, and subject to challenge) upon
certain redactions, Plaintiffs corresponded with DOJ counsel and provided necessary clarifications.
As a result, the FBI confirmed that it has no equities in the exhibits comprising MPS materials, and
that those exhibits do not require any further redaction review. 5 Plaintiffs’ public filing of these
exhibits alleviates the ongoing review process of a significant volume of material.

        Where Plaintiffs had not yet provided designations of FBI protected materials as to certain,
isolated items at the date of the Court’s minute order, those items were far down the line of the process

5 Plaintiffs submitted to the Court on June 7, 2024 a “Schedule of Judicial Documents cleared for public filing,” ECF No.

9885-1, which accurately reflects the exhibits in this category as to which all required meet-and-confer discussions have
already been completed. Saudi Arabia wrongly implies that certain documents on Plaintiffs’ schedule might require further
adjudication of their status, ECF No. 9895 at 4, but its submission is based on a misreading of the Court’s order specific
to unsealing of documents in relation to the separate briefing of a motion to strike, ECF No. 9634. No Court order
prevents Plaintiffs from publicly filing all of the judicial documents on its schedule as exhibits submitted in briefing the
motions to dismiss. To the contrary, the Court’s March 13, 2023 requires compliance with Lugosch, which mandates
“immediate” access to judicial documents. Plaintiffs will proceed as set forth in their letter at ECF No. 9885, and will
supplement and update the Schedule as necessary when further documents cleared for public filing are identified.
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FBI had outlined, and behind numerous categories of judicial documents FBI had said it intended to
review first. Stated very simply, the FBI was not very far along in its process when the Court issued
its minute order. Plaintiffs have done nothing to delay the FBI review process, but rather have
facilitated it with their proposals to narrow its scope, as described above.

        4.      Plaintiffs have a straightforward plan for complying with Lugosch and ensuring fairness,
which will not result in undue delay. Based on Plaintiffs’ June 11, 2024 meet-and-confer discussions
with the DOJ, Plaintiffs submit that there is a straightforward path for ensuring compliance with
Lugosch and upholding fairness in the conduct of the argument, while obviating the need for the FBI
to continue its time-consuming reviews of the relevant judicial documents. Specifically, Plaintiffs
propose as follows:

        a.       The parties will promptly brief disputes relating to Saudi Arabia’s proposed sealing
designations, which primarily pertain to documents Saudi Arabia produced. Saudi Arabia has already
applied category labels to each of its designations, albeit without the required support, and the parties
can proceed to brief the issues. This briefing can be completed in a reasonable number of days, subject
to the parties’ conferring and the Court’s approval. As it is Saudi Arabia’s burden to present “the
most compelling reasons” to support each sealing request, it should file the opening brief. The
resultant briefing should resolve all issues relating to Saudi Arabia’s sealing claims.

         b.       Plaintiffs will seek an order authorizing public filing of FBI PO and EO MDL versions
of FBI documents cited in Plaintiffs’ Averment, Opening Brief, and Surreply (and references to them
in those filings), or marked at depositions. The DOJ has confirmed that the FBI’s reviews of the
judicial documents, and proposed redactions to them, has been based on restrictions imposed on
government by the Privacy Act of 1974, 5 U.S.C. § 552a (“Privacy Act”). During meet-and-confer,
DOJ counsel acknowledged that the Privacy Act is the only interest asserted as to the vast majority of
the documents and references. Any isolated exhibits that raise additional issues can be identified.
While the Privacy Act imposes certain statutory restrictions on the government, it does not bind the
Court or present an equity sufficient to overcome public interest in access to judicial documents.
Rivera-Lopez v. GE, 2022 U.S. Dist. LEXIS 138935, at *6 and n. 3 (S.D. Ga., Aug. 2022) (“[P]arties
justifying seal requests under the Privacy Act must provide more than a conclusory statement that
documents must be sealed pursuant the statute.”). Issuance of a Court order authorizing the public
filing of “judicial documents” is thus appropriate under governing law and will secure public access to
virtually all of the exhibits, largely obviating the need for the FBI to continue to review any of the
materials.

         c.     Third-party documents. Saudi Arabia engaged a handful of third-parties, to solicit
sealing requests from them. It is unclear if these parties were sufficiently cognizant of the sealing
standards and Judge Netburn’s directives. Saudi Arabia should ask those parties whether they intend
to make a showing of “the most compelling reasons” to maintain sealing under Lugosch. If so, those
parties should be directed to confer with Plaintiffs by June 20, 2024 to define any disputes and discuss
a briefing schedule, and the parties will report back by a deadline set by the Court.

        d.      Plaintiffs propose that the July 10, 2024 hearing date should instead be used to hold a
status conference on these issues, potentially to have argument on at least some of the sealing disputes,
and to discuss appropriate timing, at a later date, for oral argument on the motions.
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        Respectfully submitted,

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